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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America
Case: 1:22-mj-0004/

 

V. 3 Assigned To : Faruqui, Zia M.
Assign. Date : 3/1/2022
Ralph Joseph Celentano III ) Description: Complaint with Arrest Warrant
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) _-Ralph Joseph CelentanoTT  —_— :

who is accused of an offense or violation based on the following document filed with the court:

 

(1 Indictment _] Superseding Indictment [J] Information (| Superseding Information J Complaint
(J Probation Violation Petition (I Supervised Release Violation Petition (T Violation Notice ( Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 111(a)(1)- Assaulting, Resisting, or Impeding Certain Officers
18 U.S.C. § 231(a)(3)- Civil Disorder
18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds

18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building

Zia M. Faruqui
2022.03.02
17:05:25 -05 00

Issuing officer's signature

40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings

 

Date: /202

— -_—-—
——-

 

City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge |

Printed name and title

 

 

Return

This warrant was received on (date) ae y ve Z2_ , and the person was arrested on (date) if Gs TA Ce,

at (city and state) B “CG of cNoace &
Date: a AAC ee ae
m Arresting officer’s signature

Bias. A EC /- 5: CS MEO +# ( AS tf

Printed name and title

 

 

 

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